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                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE

  SIGHT SCIENCES, INC.,                   )
                                          )
               Plaintiff,                 ) Redacted - Public Version
                                          )
     v.                                   ) C.A. No. 21-1317-GBW-SRF
                                          )
  IVANTIS, INC., ALCON RESEARCH           )
  LLC, ALCON VISION, LLC, and ALCON       )
  INC.,                                   )
                                          )
               Defendants.                )

       DEFENDANTS’ CONCISE STATEMENT OF FACTS IN SUPPORT OF THEIR
             MOTION FOR SUMMARY JUDGMENT OF INVALIDITY
                       FOR LACK OF ENABLEMENT

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  Dated: October 12, 2023




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         1.      Sight Sciences, Inc. (“Plaintiff) accuses Ivantis, Inc., Alcon Research LLC, Alcon

  Vision, LLC and Alcon Inc. (“Defendants”) of infringement of the following claims (the

  “Asserted Claims”) from the following patents (the “Asserted Patents”):

                 (i)     U.S. Patent No. 8,287,482 (“’482 patent”) – claims 1, 5, 7-8, 10-11, 15,
                         18, 21, 23, 32, 36, 38-39, 41-42, 46, 49, 52, 54, 63, 68-70, 73, 77, and 79-
                         80;

                 (ii)    U.S. Patent No. 9,370,443 (“’443 patent”) – claims 1, 8, 11-12, 21, 23-24,
                         27, 42-43, 46, 52, 54-59, and 70-71;

                 (iii)   U.S. Patent No. 9,486,361 (“’361 patent”) – claims 1-3 and 5-9;

                 (iv)    U.S. Patent No. 10,314,742 (“’742 patent”) – claims 1-3, 6-9, 12-13, 15,
                         and 17-20; and

                 (v)     U.S. Patent No. 11,389,328 (“’328 patent”) – claims 1-2, 4-8, 12-14, 18,
                         21-23, and 25-26.

         2.      One of these three limitations: “fluid may traverse the canal without substantial

  interference   from    the   support,”    “support    does   not    substantially   interfere   with

  [longitudinal/transmural] flow,” or “does not significantly block fluid outflow” (collectively,

  “Block Limitation”) is recited in each of the following claims:

                 (i)     ’482 Patent – claims 1, 5, 7-8, 10-11, 15, 18, 21, 23, 32, 36, 38-39, 41- 42,
                         46, 49, 52, 54, 63, 68-70, 73, 77, and 79-80;

                 (ii)    ’443 Patent – claims 1, 8, 11-12, 21, 23-24, 27, 42-43, 46, 52, 54-59, and
                         70-71;

                 (iii)   ’361 Patent – claims 6-8;

                 (iv)    ’742 Patent – claims 17-18; and

                 (v)     ’328 Patent – claims 7-8.

         3.      The Court construed the Block Limitation to mean: “the support does not

  significantly block either fluid outflow from the trabecular meshwork or fluid outflow to the

  collector channels.” D.I. 287; see also D.I. 273 at 6-7.
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            4.    The Asserted Patents claim priority to Application No. 11/475,523, filed June 26,

  2006. Ex. 1, ’482 patent, cover; Ex. 2, ’443 patent, cover; Ex. 3, ’361 patent, cover; Ex. 4, ’742

  patent, cover; Ex. 5, ’328 patent, cover.

            5.    The Asserted Patents share substantially identical specifications, except that the

  ’443, ’742, and ’328 patents include an additional Figure 11D. D.I. 118 at 1.

            6.    A person of ordinary skill in the art of the Asserted Patents would have at least an

  M.D. and residency training in ophthalmology and/or an engineering degree with at least three

  years of experience in the field of ophthalmic/intraocular implants. See D.I. 118 at 4-5; Ex 15,

  Downs Reb. Rep. ¶ 24, 1073; Ex. 17, Tanna Op. Rep. ¶¶ 17-19.

            7.    Determining whether or not a support achieves the Block Limitation function

  requires modeling and/or testing in cadaver eye studies and/or clinical studies. Ex. 25, D. Badawi

  Tr. 122:23-123:5, 175:16-177:5; 178:3-25; 181:12-16; 184:2-185:5; Ex. 24, 9/28 Downs Tr.

  87:13-88:22; 98:10-100:11; 105:23-106:5.

            8.    The Asserted Patents do not disclose any supports that are shown to achieve the

  Block Limitation function by modeling and/or testing in cadaver eye studies and/or clinical

  studies. Ex. 24, 9/28/23 Downs Tr. 66:21-67:15; 77:19-79:21; see generally, e.g., Ex. 1, ’482

  Patent.

            9.    The Asserted Patents do not disclose any modeling and/or testing in cadaver eye

  studies and/or clinical studies. Ex. 24, 9/28/23 Downs Tr. 66:21-67:15; 77:19-79:21; see

  generally, e.g., Ex. 1, ’482 Patent.

            10.   The Asserted Patents do not disclose results from any modeling and/or testing in

  cadaver eye studies and/or clinical studies. Ex. 24, 9/28/23 Downs Tr. 66:21-67:15; 77:19-79:21;

  see generally, e.g., Ex. 1, ’482 Patent.



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         11.

                                                                                          Ex. 25, D.

  Badawi Tr. 164:12-17; Ex. 26, P. Badawi Tr. 146:7-11; Ex. 1, ’482 Patent, at 2:55-65.




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                                   CERTIFICATE OF SERVICE

         I, Andrew E. Russell, hereby certify that on October 12, 2023, this document was served

  on zsightsciencesivantis@cooley.com and the persons listed below in the manner indicated:

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